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AO 442 (Rev. 11/11) Arrest Warrant



                                        UNITED STATES DISTRICT COURT
                                                                for the
                                                        District
                                                 __________      of Columbia
                                                            District  of __________

                  United States of America
                             v.                                   )
                                                                  )        Case No.    23-CR-91
                        SIM HYON-SOP                              )
                                                                  )
                                                                  )
                                                                  )
                            Defendant


                                                     ARREST WARRANT
To:      Any authorized law enforcement officer

         YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested)      SIM HYON-SOP                                                                                      ,
who is accused of an offense or violation based on the following document filed with the court:

✔ Indictment
u                         u Superseding Indictment       u Information        u Superseding Information             u Complaint
u Probation Violation Petition            u Supervised Release Violation Petition       u Violation Notice          u Order of the Court

This offense is briefly described as follows:
  Count 1: 18 U.S.C. §§ 1344, 1349 (Bank Fraud Conspiracy)
  Count 2: 50 U.S.C. § 1705 (IEEPA Conspiracy)
  Counts 3-6: 50 U.S.C. § 1705 (IEEPA)
  Count 7: 18 U.S.C. §§ 1956(a)(2)(A) and (h) (Money Laundering Conspiracy)
  Counts 8-12: 18 U.S.C. §§ 1956(a)(2)(A) (Money Laundering)




Date:         04/24/2023
                                                                                         Issuing officer’s signature

City and state:       Washington, DC                                                             , United States Magistrate Judge
                                                                                           Printed name and title


                                                                Return

           This warrant was received on (date)                        , and the person was arrested on (date)
at (city and state)                                         .

Date:
                                                                                        Arresting officer’s signature



                                                                                           Printed name and title
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                      This second page contains personal identifiers provided for law-enforcement use only
                      and therefore should not be filed in court with the executed warrant unless under seal.

                                                        (Not for Public Disclosure)

Name of defendant/offender:             SIM HYON-SOP

Known aliases:
Last known residence:                 United Arab Emirates

Prior addresses to which defendant/offender may still have ties:


Last known employment:
Last known telephone numbers:
Place of birth:           North Korea

Date of birth:            11/25/1983

Social Security number:
Height:                                                                Weight:
Sex:      Male                                                         Race:
Hair:                                                                  Eyes:
Scars, tattoos, other distinguishing marks:



History of violence, weapons, drug use:


Known family, friends, and other associates (name, relation, address, phone number):


FBI number:
Complete description of auto:


Investigative agency and address:


Name and telephone numbers (office and cell) of pretrial services or probation officer (if applicable):



Date of last contact with pretrial services or probation officer (if applicable):
